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                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF LOUISIANA




PRISCILLA LEFEBURE                        •       CIVIL ACTION NO. 17-1791-SDD-EWD

VERSUS                                    •       JUDGE: SHELLY D. DICK

BARRETT BOEKER, ET AL.                    •




                                          ORDER

       The Motion Filed on Behalf of Samuel C. D’Aquilla, Individually and in his Official

Capacity as District Attorney for the 20th Judicial District, State of Louisiana, to Amend

the Court’s June 25, 2019 Ruling and Order to Certify Interlocutory Appeal Pursuant to

28 U.S. C. 1292 (b) and to Stay Proceedings Pending Appeal having been considered

and procedurally unopposed by Plaintiff;

       IT IS HEREBY ORDERED that the Motion Filed on Behalf of Samuel C. D’Aquilla,

Individually and in his Official Capacity as District Attorney for the 20th Judicial District,

State of Louisiana, to Amend the Court’s June 25, 2019 Ruling and Order to Certify

Interlocutory Appeal Pursuant to 28 U.S. C. 1292 (b) and to Stay Proceedings Pending

Appeal is hereby granted; and accordingly,

       (1) The Ruling and Order issued by this Court on June 25, 2019 (Rec. Doc. 82) is

          hereby amended to add the following language thereto:

          In the opinion of this Court, the Court’s Ruling and Order dated June 25,
          2019 Rec. Doc. 82), insofar as it denied the Motion to Dismiss (Rec.
          Doc. 57;57-1 ) filed on behalf of defendant District Attorney D’Aquilla, in
          both his individual and official capacities, involves the denial of qualified
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         and prosecutorial immunity; thus an immediate appeal from the said
         Ruling insofar as it denied relief to Defendant D’Aquilla may materially
         advance the ultimate termination of this litigation.


      (2) These entire proceedings are hereby stayed pending the resolution of the

         appeal by Samuel C. D’Aquilla individually and in his official capacity as District

         Attorney for the 20th Judicial District, State of Louisiana.


      IT IS SO ORDERED.

      Baton Rouge, Louisiana, this 25th day of September, 2019.


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                                         ________________________________
                                         SHELLY D. DICK
                                         CHIEF DISTRICT JUDGE
                                         MIDDLE DISTRICT OF LOUISIANA




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